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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

FRED L. WILLIAMS                                                                  PETITIONER
ADC #093355

v.                                 4:20-cv-01273-BRW-JJV

DEXTER PAYNE, Director,
Arkansas Division of Correction                                                 RESPONDENT

                                           ORDER

       I have reviewed the Proposed Findings and Recommended Disposition (Doc. No. 4)

submitted by United States Magistrate Judge Joe J. Volpe and Petitioner’s Objections. After

carefully considering the objections and making a de novo review of the record, I approve and

adopt the Proposed Findings and Recommended Disposition in all respects.

       Accordingly, the Petition for Writ of Habeas Corpus (Doc. No. 2) is DISMISSED

without prejudice and the requested relief is DENIED.

       IT IS SO ORDERED this 6th day of November, 2020.



                                                        Billy Roy Wilson______________
                                                        UNITED STATES DISTRICT JUDGE
